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 5
 6   ATTORNEY FOR DEFENDANT
     CARLOS LEE SANCHEZ
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 8
 9                IN THE UNITED STATES DISTRICT COURT FOR THE
10                      EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,     )                CR.-S-04-205-GEB
12                                 )
          PLAINTIFF,               )                STIPULATION AND
13                                 )                ORDER TO CONTINUE STATUS OF
          v.                       )                ALLEGED VIOLATION TO
14                                 )                FRIDAY, MARCH 5, 2010
     CARLOS LEE SANCHEZ,           )
15                                 )
          DEFENDANT.               )
16   _______________________________)
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Ms. Mary Grad and defendant, Mr. Carlos Lee Sanchez, Jr., by his attorney
19   Mr. James R. Greiner, hereby stipulate and agree that the status conference
20   calendared for Friday, January 29, 2010, at 9:00 a.m. before the Honorable United
21   States District Court Judge, Garland E. Burrell, Jr., may be continued to Friday,
22   March 5, 2010, at 9:00 a.m..
23         The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
24   ensure the Court’s calendar was available for that date and the Court is available on
25   Friday, March 5, 2010. In addition, probation officer, Ms. Cynthia Mazzei, was
26   contacted and involved in the decision regarding the stipulation to ensure her consent
27   to and availability for that date, and she consented to the continuance and is available
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 1    on that date.
 2           The defendant is out of custody under supervision, and consents to the
 3 continuance.
 4           The continuance is requested for several reasons: 1-the defense is doing on
 5 going investigation; 2- the defense is continuing to review the material in this matter
 6 and 3- the defendant has a State Court Trial on the very issues of the filed Petition in
 7 this Court and the result of the trial in State Court will be of assistance in helping to
 8 resolve this matter and by allowing the State Court trial to proceed first it will be a
 9 cost savings to both the government and this Court. There is no speedy trial act
10 requirement for exclusion of time, however, the defendant does agree and consent to
11 this continuance after being informed by telephone conference of the case,
12 circumstances and his legal rights.
13
14                                    Respectfully submitted,
                                      BENJAMIN B. WAGNER
15                                    UNITED STATES ATTORNEY
16                                    /s/ Mary Grad by e mail authorization
     DATED: 1-27-10                   _____________________________________
17                                    Mary Grad
                                      ASSISTANT UNITED STATES ATTORNEY
18                                    ATTORNEY FOR THE PLAINTIFF
19
     DATED: 1-27-10                   /s/ James R. Greiner
20                                    _______________________________________
                                      James R. Greiner
21                                    Attorney for Defendant
                                      Carlos Sanchez
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28                                               2
      Case 2:04-cr-00205-TLN Document 440 Filed 01/29/10 Page 3 of 3


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 2
 3                                    ORDER
 4
 5       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 6 Dated: January 28, 2010
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 9                                  GARLAND E. BURRELL, JR.
                                    United States District Judge
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